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                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF MISSOURI
                                      AT KANSAS CITY

IN RE:                                                    )
                                                          )
INTERSTATE UNDERGROUND WAREHOUSE                          )       Case No. 21-40834-DRD
AND INDUSTRIAL PARK, INC.                                 )       Chapter 11
                                                          )
                  Debtor.                                 )

                              OBJECTION TO CONFIRMATION OF
                          THIRD AMENDED PLAN OF REORGANIZATION

           COMES NOW, Creditor, CCC Capital, Inc. by and through counsel, Colin N. Gotham of
Evans & Mullinix, P.A., and for its Objection to Confirmation of Debtor’s Third Amended Plan of
Reorganization states as follows:
    1. Debtor filed its case on July 1, 2021 and filed its Third Amended Plan of Reorganization
           [#423] on May 2, 2022.
    2.     Interested party, Timothy Wahl, filed a Response to Debtor’s Third Amended Plan of
           Reorganization [#431] on May 13, 2022.
    3. If Debtor’s Third Amended Plan of Reorganization is confirmed Creditor estimates that it
           will receive approximately $62,265.00 of its $150,000.00 claim, provided the claims of all
           Class 14 Creditors are disallowed. Allowance of any of the claims of any of the Class 14
           Creditors will reduce the disbursements to all Class 13 Creditors.
    4. Debtor is proposing to make disbursements to Class 13 Creditors over a five (5) year period.
    5. If Timothy Wahl’s proposal is accepted or implemented Creditor estimates that it will receive
           approximately 100% of its $150,000.00 claim, provided the claims of all Class 14 Creditors
           are disallowed. Further, the disbursement of funds will allow Creditor to receive funds in a
           much timelier manner than is currently proposed.
    6. Creditor believes that if Timothy Wahl’s proposal is not accepted or implemented the Debtor
           should be required to increase the proposed disbursement to Class 13 Creditors to
           $725,000.00.
    7. Based on the pleadings filed by Timothy Wahl, the Debtor is not paying the liquidation value
           pursuant to 11 U.S.C. § 1129(a)(7).




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           WHEREFORE, Creditor, CCC Capital, Inc. prays that this Court deny Confirmation of
Debtor’s Third Amended Plan of Reorganization and for such other and further relief as is just and
equitable.

                                                Respectfully Submitted:

                                                EVANS & MULLINIX, P.A.

                                                /s/ Colin N. Gotham
                                                Colin N. Gotham, KS #19538; MO #52343
                                                7225 Renner Road, Suite 200
                                                Shawnee, KS 66217
                                                (913) 962-8700; (913) 962-8701 (Fax)
                                                cgotham@emlawkc.com
                                                Attorneys For Creditor, CCC Capital, Inc.

                                    CERTIFICATE OF SERVICE

         I hereby certify that on this 18th day of May 2022, a true and correct copy of the foregoing was
electronically filed with the court using the CM/ECF system which sent notification to all parties of
interest participating in the CM/ECF system.


                                                        /s/ Colin N. Gotham
                                                        Colin N. Gotham




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